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                                                                                                                                         Page 1 of 5 iXI,
           Case 3:13-cr-03481-BTM                    Document 431               Filed 09/29/14                PageID.1784                ir" 'i
     ~AO 2458 (CASD) (Rev. 4114)   Judgment in a Criminal Case                                                                      I
                                                                                                                                    '.
               Sheet 1
                                                                                                                                           SEP 2!l 2014
                                                                                                                                            ~~X',"

                                              UNITED STATES DISTRICT COURT                                                                  L~'~, ~;.: ;<,~~:; s CW
                                                                                                                                                                      i\i ," "\0) ~
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1,1987)

                         CHRISTOPHER RUIZ [17]                                     Case Number: 13CR3481-BTM
                                                                                   MARTIN MOLINA
                                                                                   Defendant's Attorney
     REGISTRATION NO. 66787112

     o
     THE DEFENDANT:
     181pleaded guilty to count(s) _1_O_F_T_H_E_lN_D_IC_T_M_E_N_T
                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                      Couut
     Title & Section                         Nature of Offense                                                                                    Number(s)
18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD                                                                                         1




       The defendant is sentenced as provided in pages 2 through                _5_ _ of this judgment. The sentence is imposed pursuant
o
to the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)

 O
     Count(s) _______________________ is D O
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                                                     . d on themotIon
                                                                   . 0f t he U nIte
                                                                                . d S tates.

181 Assessment: $100 to be paid within 6 months of release.

 181 Fine waived                                   o    Forfeiture pursuant to order filed                                         , included herein.
      IT [S ORDERED that the defendant shan notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              SEPTEMBER 19, 2014
                                                                             Date of Imposition of Sentence




                                                                                                      nn.e
                                                                             UNITED STATES Dj~TKlCT JU~~~



                                                                                                                                                     13CR3481-BTM
    Case 3:13-cr-03481-BTM                     Document 431        Filed 09/29/14      PageID.1785            Page 2 of 5
AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page    2     of      5
DEFENDANT: CHRISTOPHER RUIZ [17]
CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for ~ term of
        SIX (6) MONTHS.


                                                                                                                                 •
    o Sentence imposed pursuant to Title USC Section 1326(b).
                                                 8
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         181 before 12:00PM ON 1112112014 OR TO THIS COURT AT 2:00PM ON THAT SAME DATE.
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL

                                                                   By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   13CR3481-BTM
         Case 3:13-cr-03481-BTM                    Document 431              Filed 09/29/14            PageID.1786              Page 3 of 5
AO 24SB (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                Judgment-Page        3     of        5.
DEFENDANT: CHRISTOPHER RUIZ [17]                                                                       II
CASE NUMBER: 13CR3481-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release fl.'om
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed 011 01' a/terSeptember 13,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o       The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
    The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181 Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The defendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten oays prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 1 1)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                         13CR3481-BTM
           Case 3:13-cr-03481-BTM                     Document 431        Filed 09/29/14          PageID.1787            Page 4 of 5
        AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment-Page _ _4_ of _ _5~_ _
        DEFENDANT: CHRISTOPHER RUIZ [17]                                                            a
        CASE NUMBER: 13CR3481-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
IV! Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in an!>, form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


181 Be prohibited from opening banking or credit accounts or incurring new credit charges or opening additional lines of credit without approval
    of the probation officer in writing.

181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 60 days upon release.
181 Seek and maintain full time employment and/or schooling or a combination of both.
181 Make restitution to the Bank of America in the amount of $ 10,320.69, to be paid in installments of $ 250.00 per month.
D Complete            hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the. other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.


181 TIte defendant shall notify theCollectionsUnit,UnitedStatesAttorney's Office within 10 days, of any intereslin property obtained, directly
    or indirectly, valued at $1,00001' more inCluding any interest obtained under any other name, or entity, including a trust, partnership, or
    corporation until restitution is paid in full. The defepdant shall notify the Collections Unit, United States Attorney's Office within 10 days,
    before transferring any interest in property valUed at $1,000 or more owned directly or indirectly by Defendant, including any interest held
    or owned under any olhername or entity, incluqinRtruStS, Partnerships, and/or corporations.




                                                                                                                                    13CR3481-BTM
       Case 3:13-cr-03481-BTM         Document 431         Filed 09/29/14     PageID.1788         Page 5 of 5
AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:            CHRISTOPHER RUIZ [17]                                                Judgment - ·Page 5 of 5
  CASE NUMBER:          I3CR3481-BTM

                                           RESTITUTION


The defendant shall pay restitution in the amount of $10,320.69               unto the United States of America.
For the benefit of Bank of America through the Clerk of Court




This sum shall be due immediately. And shall be paid as follows: (I) While in custody defendants shall
pay restitution through the Inmate Responsibility Program at the rate of50% of Defendant's income, or $25.00
per quarter, whichever is greater. (2) While out of custody in installments of $250 per month.




The Court has determined that the defendant     does not    have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                     I3CR3481-BTM
